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                     IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,                   )   CR NO. 17-00101 LEK-KJM
                                             )
                 Plaintiff,                  )   ORDER DENYING DEFENDANT’S
                                             )   [398] MOTION FOR RETURN OF
        vs.                                  )   PROPERTY
                                             )
 ANTHONY WILLIAMS,                           )
                                             )
              Defendant.                     )
                                             )

                         ORDER DENYING DEFENDANT’S
                    [398] MOTION FOR RETURN OF PROPERTY

       Defendant Anthony Williams (“Defendant”) seeks the return of “all property

that is not contraband,” in particular, his “iphones, scanners, printers, computers,

laptops, music cd’s [sic], audio cd’s [sic] of religious lectures, dvd’s [sic] of

religious lectures, file cabinets, client files, personal files, business files and a

plethora of miscellaneous office equipment, supplies and items,” in his December

17, 2018 Motion for Return of Property. ECF No. 398-2 at 2. Defendant argues

that he is entitled to the return of these seized items because: (1) they are “not

relevant to the instant charges and the government has no need or compelling

interest to continue to hold [his] personal property”; and (2) he “has not be[en]

indicted.” Id.
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      Rule 41(g) of the Federal Rules of Criminal Procedure provides a

mechanism by which any person may seek to recover property seized by federal

agents. Pursuant to Rule 41(g):

      Motion to Return Property. A person aggrieved by an unlawful
      search and seizure of property or by the deprivation of property may
      move for the property’s return. The motion must be filed in the
      district where the property was seized. The court must receive
      evidence on any factual issue necessary to decide the motion. If it
      grants the motion, the court must return the property to the movant,
      but may impose reasonable conditions to protect access to the
      property and its use in later proceedings.

For the purposes of Rule 41(g), a “person aggrieved by an unlawful search or

seizure” or “by the deprivation” of property, Fed. R. Crim. P. 41(g), is a person

with a “proprietary or possessory interest in the seized property.” United States v.

Colacurcio, 499 F.2d 1401, 1406 (9th Cir. 1974) (citing Brown v. United States,

411 U.S. 223 (1972)). The person from whom property is seized bears the burden

to prove that he is entitled to lawful possession of the property. United States v.

Martinson, 809 F.2d 1364, 1369 (9th Cir. 1987).

      Generally, a Rule 41(g) motion is properly denied “if the defendant is not

entitled to lawful possession of the seized property, the property is contraband or

subject to forfeiture, or the government’s need for the property as evidence

continues.” United States v. Mills, 991 F.2d 609, 612 (9th Cir. 1993) (construing

former Rule 41(e)). A criminal defendant is presumed to have the right to the

return of his property once the property is no longer needed as evidence, and the

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burden of proof is on the government to show “that it has a legitimate reason to

retain the property.” Id. (quoting Martinson, 809 F.2d at 1369). The government

may meet its burden by demonstrating “a cognizable claim of ownership or right to

possession adverse to that of [the defendant].” Id. (quoting United States v.

Palmer, 565 F.2d 1063, 1065 (9th Cir. 1977)). In that regard, “if the United States

has a need for the property in an investigation or prosecution, its retention of

property is generally reasonable.” Fed. R. Crim. P. 41(g) advisory committee’s

note to 1989 amendment.

      At the hearing on this matter (which Defendant declined to attend), the

United States of America (“Government”) represented that any of the items it had

been able to identify that might be deemed personal and unrelated to this case

(music CDs, audio CDs of religious lectures, DVDs of religious lectures) have

been produced to Defendant in discovery. The Government deems the other

categories Defendant has identified as necessary for its investigation and

prosecution.

      Accordingly, and based on the limited record before the Court, the Court

finds that Defendant has not met his burden of establishing that he is entitled to

lawful possession of the property he has identified. The Court therefore DENIES

the Motion for Return of Property.

      IT IS SO ORDERED.


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      DATED: February 4, 2019, at Honolulu, Hawai‘i.




                                Kenneth J. Mansfield
                                United States Magistrate Judge




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